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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                              Case No.: 6:21-61901-CIV-SMITH


  JAMES DAR, LLC,

  Plaintiff,

  vs.

  OJ COMMERCE, LLC,

  Defendants,

  and

  OJ COMMERCE, LLC, and
  OJCOMMERCE.COM, INC,

  Third Party Plaintiffs,

  vs.

  LORI A. SENGSTOCK, et. al.,

  Third Party Defendants.


                     THIRD PARTY DEFENDANT LORI A. SENGSTOCK’S
                       MOTION TO PERMIT MEDIATION VIA ZOOM

           Lori A. Sengstock (“Defendant”) by and through the undersigned counsel, moves this

  Court to allow Defendant to participate in mediation via Zoom, alleging as follows:

        1. On August 26, 2022, in person mediation is currently scheduled to occur in this matter.

           [DE #100].

        2. On July 18, 2022, Defendant filed her Motion to Dismiss Defendants OJ Commerce,

           LLC, and OJ Commerce.com, Inc.’s, Third Party Complaint (the “Motion’). [DE #114].
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     3. The Motion is still pending, with no adjudication regarding Defendant’s objection to

          personal jurisdiction.

     4. In Johns v. Taramita, a defendant objected to personal jurisdiction and the Court reviews

          Florida’s Long Arm Statute in order to determine whether the Court can order arbitration.

          See 132 F.Supp.2d. 1021 (S.D.Fla. 2001).

     5. Implicit in this holding is the rule that a Court must first establish personal jurisdiction

          over a defendant before it can order attendance at alternative dispute resolution because

          otherwise the Court would not have premised its rejection of the petition to compel

          arbitration on a finding of lack of personal jurisdiction. See Id. At 1031.

     6.   Florida law similarly holds that a court must possess personal jurisdiction over a

          defendant before compelling alternative dispute resolution. See Fountainbleau, LLC v.

          Hire Us, Inc., 273 So. 3d 1152, 1157 (Fla. 2nd DCA 2019).

     7. As Defendant’s Motion remains undetermined, this Court has no authority to compel

          Defendant to enter into the forum state to participate in alternative dispute resolution.

     8. Furthermore, given the amount in controversy and costs of attending mediation, requiring

          in person attendance by Defendant and requiring her to travel to a state in which

          Defendant maintains no systematic contacts would be improper.

     9. Finally, Defendant may be prejudiced by being required to attend in person mediation

          because the caselaw surrounding waiver of personal jurisdiction arguments is nebulous

          and uncertain, and therefore Defendant’s attendance risks waiving the objection. See

          Matthews v. Brookstone Stores, Inc., 431 F.Supp.2d 1219, 1224 (S.D.Ala 2006).




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          WHEREFORE, Defendant respectfully requests that this Court enter an order permitting

      Defendant to appear at the August 26, 2022, mediation via zoom, and any other relief that

      this Court deems equitable and just.

                                  CERTIFICATE OF SERVICE

          It is hereby certified that on August 8, 2022, I filed the foregoing motion with the Clerk

  of Court by utilizing the CM/ECF system that will serve this motion on all parties of record via

  electronic filing.



                                        By: /s/     Benjamin Weissman

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